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13
                                UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                      OAKLAND DIVISION
16
                                                Case No. 4:20-cv-05640-YGR-TSH
     EPIC GAMES, INC.,
17
                  Plaintiff, Counter-defendant,
18                     v.
19   APPLE INC.,
                  Defendant, Counterclaimant.
20
                                                 Case No. 4:11-cv-06714-YGR-TSH
21   IN RE APPLE IPHONE ANTITRUST
     LITIGATION
22
                                                 Case No. 4:19-cv-03074-YGR-TSH
23   DONALD R. CAMERON, et al.,
                                       Plaintiffs, PLAINTIFFS’ JOINT
24                                                 ADMINISTRATIVE MOTION TO FILE
                          v.                       UNDER SEAL THE JOINT DISCOVERY
25   APPLE INC.,                                   LETTER BRIEF AND SUPPORTING
                                                   EXHIBITS
26                                    Defendant.
                                                   Judge: Hon. Magistrate Thomas S. Hixson
27

28   PLAINTIFFS’ JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL THE JOINT DISCOVERY LETTER
                                  BRIEF AND SUPPORTING EXHIBITS
       Case Nos.: 4:20-cv-05640-YGR-TSH; 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH
       Case 4:20-cv-05640-YGR Document 173 Filed 12/07/20 Page 2 of 5



 1                  Plaintiffs in the above-captioned actions bring this joint administrative motion

 2   under Civil Local Rules 7-11(a) and 79-5(d)-(e) for an order granting Plaintiffs leave to file under

 3   seal the Joint Discovery Letter Brief Regarding Additional Apple Document Custodians (the

 4   “Joint Discovery Letter Brief”) and Supporting Exhibits 1-11.

 5                  Civil Local Rule 79-5 provides that documents, or portions thereof, may be sealed

 6   if a party “establishes that the documents, or portions thereof, are privileged, protectable as a trade

 7   secret or otherwise entitled to protection under the law.” Civ. L.R. 79-5(b). Under this standard, a

 8   party seeking to seal a document generally must overcome the “strong presumption in favor of

 9   access” that applies to court documents other than those that are traditionally kept secret.

10   Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (citations omitted).

11   However, the “public has less of a need for access to court records attached only to non-

12   dispositive motions because those documents are often ‘unrelated, or only tangentially related to

13   the underlying cause of action.’” Id. at 1179 (citations omitted). Instead, a “‘good cause’ showing

14   under Rule 26(c) [of the Federal Rules of Civil Procedure] will suffice to keep sealed records

15   attached to non-dispositive motions.” Id. at 1180; In re NCAA Student-Athlete Name & Likeness

16   Licensing Litig., 2013 WL 3014144, at *1 (N.D. Cal. Jun. 17, 2013). A party seeking to seal such

17   material must make a “particularized showing of good cause with respect to any individual

18   document.” San Jose Mercury News, Inc. v. U.S. Dist. Court, N. Dist. (San Jose), 187 F.3d 1096,

19   1103 (9th Cir. 1999). Sealing requests must also be “narrowly tailor[ed].” Civ. L.R. 79-5(b).

20                  Subsection (e) of Local Rule 79-5 sets forth procedures that apply when a party

21   seeks to file information designated as confidential by an opposing party. This Administrative

22   Motion is based on Defendant Apple Inc.’s (“Apple”) designation of information in the Joint

23   Discovery Letter Brief and its exhibits as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

24   ATTORNEYS’ EYES ONLY” under the protective orders in the above-captioned actions. (Epic

25   Games, Inc. v. Apple Inc., No. 20-cv-05640-YGR-TSH, ECF No. 112; In re Apple iPhone

26   Antitrust Litigation, No. 4:11-cv-06714-YGR-TSH, ECF No. 199; Donald R. Cameron, et al. v.

27   Apple Inc., No. 4:19-cv-03074-YGR-TSH, ECF No. 85.) Plaintiffs do not believe that the Joint
                                                 -1-
28    PLAINTIFFS’ JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL THE JOINT DISCOVERY LETTER
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 1   Discovery Letter Brief and or any of the Supporting Exhibits meet the standard for sealing. But at

 2   Apple’s request, Plaintiffs are filing the documents in their entirety under seal. Pursuant to

 3   subsection (e)(1) of Local Rule 79-5, Apple has four days to file a declaration establishing that all

 4   of the designated material is “sealable” (as defined in Local Rule 79-5(b)).

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      Case 4:20-cv-05640-YGR Document 173 Filed 12/07/20 Page 4 of 5


     Dated: December 7, 2020              CRAVATH, SWAINE & MOORE LLP
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 2                                          Gary A. Bornstein
                                            Yonatan Even
 3                                          Lauren A. Moskowitz
                                            M. Brent Byars
 4

 5                                        Respectfully submitted,
 6                                        By:    /s/ Lauren A. Moskowitz
                                                 Lauren A. Moskowitz
 7
                                                Attorneys for Plaintiff Epic Games, Inc.
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 9   Dated: December 7, 2020              WOLF HALDENSTEIN ADLER FREEMAN &
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11                                          Matthew M. Guiney
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13                                        Respectfully submitted,
14                                        By:    /s/ Rachele R. Byrd
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21                                        Respectfully submitted,
22                                        By:    /s/ Benjamin J. Siegel
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24                                              Plaintiffs
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28   PLAINTIFFS’ JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL THE JOINT DISCOVERY LETTER
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       Case 4:20-cv-05640-YGR Document 173 Filed 12/07/20 Page 5 of 5



 1                                      E-FILING ATTESTATION

 2                  I, Lauren A. Moskowitz, am the ECF User whose ID and password are being used
 3   to file this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of
 4   the signatories identified above has concurred in this filing.
 5
                                                                /s/ Lauren A. Moskowitz
 6
                                                               Lauren A. Moskowitz
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28   PLAINTIFFS’ JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL THE JOINT DISCOVERY LETTER
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